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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division



 NANA GYAU,era/.,

                        Plaintiffs,
                                                             Civil No. l:18-cv-1373

                 V.
                                                             Hon. Liam O'Grady
 MATTHEW G. WHITAKER,Acting
 Attorney General ofthe United States, et al.

                        Defendants.


                           MEMORANDUM OPINION & ORDER


       Plaintiff Elizabeth Toku filed an I-130 Immigration Petition for Alien Relative on behalf

of her husband, PlaintiffNana Gyau. Defendants denied the Petition under 8 U.S.C. § 1154(c)

because they determined that Mr. Gyau had previously entered into a marriage with Latasha

Robinson for the purpose ofevading the United States' immigration laws. Plaintiffs allege that

the denial of the Petition was arbitrary and capricious in violation of the Administrative

Procedure Act and violated their due process rights. Now before the Court are the parties' cross

Motions for Summary Judgment(Dkts. 26 & 30). The motions were fully briefed and the Court

heard oral argument on February 22, 2018. For the reasons stated below, and for good cause

shown. Plaintiffs' Motion for Summary Judgment(Dkt. 26) is hereby DENIED and Defendants'

Motion for Summary Judgment(Dkt. 30)is hereby GRANTED.

                                       1. BACKGROUND

       A.      Regulatorv Background.


       If a non-citizen marries a United States citizen, the non-citizen's citizen-spouse can file

an 1-130 Petition with the United States Citizenship and Immigration Services("USCIS")for the
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